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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  MONSANTO COMPANY,                            )
                                               )
  and                                          )
                                               )
  THE CLIMATE CORPORATION,                     )
                                               )
                                Plaintiffs,    )
                                               )
  v.                                           )      Case No. 4: 16-cv-876
                                               )
  JIUNN-REN CHEN,                              )
                                               )
  and                                          )
                                               )
  JOHN AND JANE DOES 1 THROUGH                 )
  10 AND OTHER JOHN DOE                        )
  CORPORATIONSlTHROUGHlO                       )
                                               )
                                Defendants.    )

       STIPULATED FINAL JUDGMENT OF PERMANENJ INJUNCTION AND ORDER
                AGAINST DEFENDANT JIUNN-REN CHEN UNDER THE
                      DEFEND TRADE SECBETS ACT OF 2016

          Plaintiffs Monsanto Company ("Monsanto") and The Climate Corporation ("Climate" or

  collectively, "Plaintiffs") and Defendant Jiunn-Ren Chen ("Defendant" or collectively "the

  Parties"), respectfully move the Court for entry of this Stipulated Final Judgment of Permanent

  Injunction and Order, and agree and stipulate as follows:

          1.     Plaintiffs filed their Complaint in this matter on June 16, 2016, under the Defend

  Trade Secrets Act of2016, 18 U.S.C. § 1836(b)(l), seeking injunctive relief and other remedies

  against Defendant

          2.     Defendant admits that the Court bas subject matter and personal jurisdiction over

  him.




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          3.         The Parties stipulate to resolve this matter through a Stipulated Final Judgment of

  Permanent Injunction and Order. Mindful of the parallel criminal investigation in this matter,

  Defendant bas not admitted to a violation of the Defend Trade Secrets Act nor bas he made

  admissions that he has misappropriated by improper means any trade secrets as those terms are

  defined in 18 U.S.C. § 1839(3) and/or R.S.Mo. 417.453(4), and nothing in this Order should be

  construed as such an admission.

          4.         The Parties waive the entry of findings of fact and conclusions of law under Rules

  52 and 65 of the Federal Rules of Civil Procedure.

          5.         The Parties understand and agree that the Stipulated Final Judgment of

  Permanent Injunction and Order will be entered under Fed. R. Civ. P. 65 and will constitute the

  final judgment in this matter.

          6.         The Parties waive the right to appeal from this judgment, and agree that except as

  otherwise provided in their confidential settlement agreement and separate Consent Judgment for

  Damages, they will bear their respective costs, including any attorneys' fees or other expenses of

  this litigation.

          7.         The Parties further understand and agree that the Court will retain jurisdiction

  over this matter for a total of five (5) years from the date of entry for the purpose of

  implementing and enforcing the Stipulated Final Judgment of Pennanent Injunction and Order.

          8.         Defendant expressly understands and agrees that if he violates the Stipulated Final

  Judgment of Permanent Injunction and Order, he may be subject to sanctions for contempt

          9.         The Parties understand and agree that, if the Court finds that Defendant has

  violated the terms of the Stipulated Final Judgment of Permanent Injunction and Order, Plaintiffs

  may petition the Court for permission to file a Consent Judgment for Damages and seek entry of



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  this separate Consent Judgment for Damages, the terms of which have been agreed upon by the

  Parties, and that the Parties have executed as part of a confidential settlement agreement to

  resolve this matter.

         10.     The Parties understand and agree that Plaintiffs may conduct post-judgment

  discovery, in accordance with the Federal Rules of Civil Procedure, for the purpose of

  monitoring good faith compliance with the Stipulated Final Judgment of Permanent Injunction

  and Order, and that, in the event Plaintiffs have determined that they will petition the Court for

  permission to file the Consent Judgment for Damages and seek entry of a separate Consent

  Judgment for Damages, Defendant may conduct discovery as well.



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                           ORDER FOR PERMANENT INJUNCTION

          IT IS HEREBY ORDERED pursuant to the Defend Trade Secrets Act of2016 and Fed.

  R. Civ. P. 65 that Defendant Jiunn-Ren Chen, immediately and forthwith, shall return all of

  Plaintiffs' trade secret information in his possession, identify all locations and devices where

  trade secret information remains in his custody, control, or access, and identify all persons to

  whom he passed any trade secret and/or confidential information, and including any and all other

  confidential trade secret information not specifically identified at this point by Plaintiffs

  Monsanto Company and The Climate Corporation.

          IT IS FURTHER-HEREBY ORDERED that Defendant Jiunn-Ren Chen is enjoined from

  using, disclosing, or otherwise transmitting any and all trade secret information or other

  proprietary assets or information for any purpose whatsoever for so long as any such protections

  shall apply to such assets or information.

          IT IS FURTHER HEREBY ORDERED that Defendant Jiunn-Ren Chen shall identify all

  cloud data storage accounts used by or affiliated with him for the prior three years up to and

  including the present; provide Plaintiffs with the user names and passwords for those accounts to

  allow Plaintiffs to recover any confidential business information and trade secrets, and to

  conduct analytics on those accounts to determine whether additional trade secrets, as that term is

  defined in 18 U.S.C. § 1839(3) and/or R.S.Mo. 417.453(4) are in Mr. Chen's possession; and, if

  necessary, provide his authorization to third party providers that access be afforded to Plaintiffs

   to these accounts. This paragraph shall not apply to those accounts created after the execution of

   this proposed order. Further, Plaintiffs and Defendant have agreed to use reasonable means to

   ensure the protection of the attorney-client privilege as provided in their settlement agreement




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         IT IS FURTHER HEREBY ORDERED that this permanent injunction shall remain in

  effect for five (5) years, or until such time as the Parties agree that the permanent injunction shall

  no longer be necessary.

         IT IS FURTHER HEREBY ORDERED that Defendant Chen is hereby enjoined pursuant

  to the Defend Trade Secrets Act of 2016 from disclosing to any future employer or business

  affiliate any confidential, trade secret, or proprietary infonnation of Plaintiffs or that Defendant

  Jiunn-Ren Chen created or contributed to create during his employment period with Plaintiffs.

         IT IS FURTHER HEREBY ORDERED that this Court shall retain jurisdiction over this

  matter for a total of five (5) years from today for the purpose of implementing and enforcing the

  Stipulated Final Judgment of Permanent Injunction and Order; imposing civil or criminal

  sanctions for contempt, if applicable, and; entry of a separate Consent Judgment for Damages

  that the Parties have executed as part of a confidential settlement agreement to resolve this

  matter, if applicable.

          IT IS FURTHER HEREBY ORDERED that Plaintiffs may conduct post-judgment

  discovery, in accordance with the Federal Rules of Civil Procedure, for the purpose of

   monitoring good faith compliance with the Stipulated Final Judgment of Permanent Injunction

  and Order, and that, in the event Plaintiffs have determined that they will petition the Court for

   permission to file the Consent Judgment for Damages and seek entry of a separate Consent

   Judgment for Damages, Defendant may conduct discovery as well.




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  AGREED TO BY:

  HUSCH BLACKWELL LLP                        SINDEL, SINDEL & NOBLE, P.C.

  ls/Matthew Z: Schelo                       Isl Richard H. Sindel
  Matthew T. Schelp, 45724MO                 Richard H. Sindel, 23406MO
  Matthew P. Diehr, 61999MO                  8000 Maryland Avenue, Suite 350
  Marlee. Milton, 63101MO                    St Louis, MO 63105
  190 Carondelet Plaza, Suite 600            Phone:314-721-6040
  St Louis, MO 63105                         rsindel@sindellaw.com
  Phone:314-480-1500
  matthew.schelp@huschblackwell.com          Attorney for Defendant
  matthew.diehr@huschblackwell.com
  mark.milton@huschblackwell.com

  Attorneys for Plaintiffs




  IT IS SO ORDERED.


                                      U~udge~ea
                                      Catherine D. Perry




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